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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

UNITED STA TES OF AMERICA                     )
                                              )
V.                                            )
                                              )
SCOTT HOWARD JENKINS,                         )
RICK TARIQ RAHIM,                             )
FREDRIC GUMBINNER, and                        )
JAMES METCALF                                 )
                                              )

                                       MOTION TO SEAL

       COMES NOW the United States by and through its undersigned attorney and moves this

Honorable Court to seal the Indictment, and all related documents, in the above captioned case

for a period of thirty (30) days or until the defendant is taken into custody, whichever is sooner.

                                               Respectfully submitted,

                                               CHRISTOPHER KAVANAUGH
                                               UNITED STA TES ATTORNEY

                                              ls/Heather L. Carlton
                                              Heather L. Carlton
                                              Assistant United States Attorney
                                              Virginia Bar No. 84752
                                              United States Attorney's Office
                                              U.S. Courthouse & Federal Building
                                              255 W. Main St. , Room 130
                                              Charlottesville, Virginia 22902
                                              434-293-4283
                                              434-293-4910
                                              Heather.Carl ton@usdoj .gov

Date: June 28 , 2023
